    Case 2:10-cr-00186-MHT-WC Document 2314 Filed 02/16/12 Page 1 of 3




    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
     v.                             )     CRIMINAL ACTION NO.
                                    )       2:10cr186-MHT
MILTON E. McGREGOR,                 )           (WO)
THOMAS E. COKER,                    )
LARRY P. MEANS,                     )
JAMES E. PREUITT,                   )
HARRI ANNE H. SMITH, and            )
JARRELL W. WALKER, JR.              )


                         OPINION AND ORDER

     It is ORDERED that defendant Jarrell W. Walker, Jr.’s

motion for an in camera review of notes or preliminary

findings of the probation officer relating to defendant

Ronald E. Gilley’s presentence report (PSR) (Doc. No.

2304) is denied.

     There is a presumption against disclosure of PSRs

because revelation of such private information would have

a   “chilling     effect     on    the    willingness      of    various

individuals     to    contribute        information    that     will     be

incorporated into the report.”             United States v. Gomez,

323 F.3d 1305, 1308 (11th Cir. 2003).             Accordingly, other
   Case 2:10-cr-00186-MHT-WC Document 2314 Filed 02/16/12 Page 2 of 3




circuits have held and the Eleventh Circuit has assumed

that    a   party          requesting      disclosure       of     a    PSR    must

demonstrate           a    “compelling,         particularized          need    for

disclosure.”          Id.

       First, under even the least demanding standard that

might be applicable and assuming that, like a PSR, a

probation officer’s unprocessed notes and inconclusive

findings are even discoverable, Walker has failed to

articulate       any       reasonable      basis      for   his    motion;      the

motion      is    nothing         more    than    a    fishing     expedition.

Second,     he    has       not   established         how   the    inconclusive

materials        he       seeks   would    be    relevant     to       his   cross-

examination of Gilley, for the evidence does not show

that Gilley is even aware of what is in these materials.

Third, it is apparent from the representations made to

the court on February 15, 2012, that Walker essentially

wants the court to allow, during this retrial, a lengthy

hearing on all the conceivable sentences Gilley might

receive (including calculations under all the possibly



                                          2
   Case 2:10-cr-00186-MHT-WC Document 2314 Filed 02/16/12 Page 3 of 3




applicable guidelines) based on a probation officer’s

unprocessed notes and inconclusive findings; the court

declines to allow this irrelevant, speculative sideshow.

    DONE, this the 16th day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
